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                                            VIA ECF
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    September 21, 2006

    Hon. Michael L. Orenstein, U.S.M.J.
    United States District Court
    Eastern District of New York
    L.I. Federal Courthouse
    100 Federal Plaza
    Central Islip, NY 11722-4449

            Re:     Caronia v. Hustedt Chevrolet, et al. – Docket No. CV-05 3526
                    Estate of Levy v. Hustedt Chevrolet, et al. – Docket No. 05-CV-4832
                    Ventimiglia v. Hustedt Chevrolet, et al. – Docket No. 05-CV-4149
                    Pratt v. Hustedt Chevrolet, et al. – Docket No. 05-CV-4148
                    Weiss v. Hustedt Chevrolet, et al. – Docket No. 05-CV-4230

    Dear Judge Orenstein:

           This office represents the Defendants, Hustedt Chevrolet, Hustedt Chevrolet, Inc.,
    Hustedt Chevrolet West, Hustedt Chevrolet West, Inc., Hustedt Hyundai, Hustedt
    Hyundai, Inc., Charles Chalom and Monique Chalom in the above-referenced matters.
    The Court has scheduled a conference in this matter for September 25, 2006 to resolve
    various discovery issues which have arisen in this matter.

            On September 18, 2006, counsel for Plaintiffs wrote the Court seeking an
    extension of the discovery schedule in this matter and calling attention to alleged
    deficiencies in Defendants’ compliance with discovery requests in this matter. In an
    effort to resolve any outstanding issues with regard to document discovery in these
    matters without the intervention of the Court, this office wrote to Plaintiff’s counsel on
    September 19, 2006 and offered to make available for inspection and copying all
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    documents which Plaintiffs still seek in this matter. Further, Defendants offered to waive
    their meritorious objections with regard to the production of these items.1

             The only documents which Defendants have withheld are the “deal jackets” in
    this matter. These “deal jackets” contain the necessary documentation for every sale that
    has occurred at the three (3) named automobile dealerships over the last five (5) years.
    To produce, even for inspection and copying, these items would require the production of
    literally millions of documents, none of which have any relevance to the foregoing
    matters. However, Defendants have agreed to make these documents available for
    inspection in the event that a review of the financial records reveals a specific question
    about a specific “deal jacket.”

             The offer made by Defendants more than satisfies their discovery obligations and
    resolves all outstanding document discovery issues. Plaintiffs have failed to provide any
    response. Plaintiffs have been presented with a viable solution to all discovery issues in
    this matter and have provided absolutely no response to this offer. If Plaintiffs truly
    wished to resolve discovery matters in these cases, as they profess, there is no reason to
    fail to respond to this offer. Given Plaintiffs conduct throughout the course of discovery
    in these matters, it is not surprising that they have chosen to ignore this offer without
    justification.

            Defendants believe that, in light of their offer, there is no reason to move forward
    with the September 25, 2006 conference since there remains no outstanding issues
    relating to document discovery. Defendants would concur with Plaintiffs that an
    extension of the discovery schedule in this matter is appropriate given the volume of
    documents which are being produced. In addition, given Plaintiffs’ highly prejudicial
    conduct in refusing to engage in discovery for more than six (6) months during this
    matter, an extension of time would remedy the resulting prejudice to Defendants.
    Finally, in light of the high volume of documents, it will be physically impossible for
    Defendants to bring with them all such items pursuant to the Court’s order. Because
    Defendants have offered to produce these items, it would further be unnecessary to bring
    the documents to the courthouse because there is no controversy regarding production of
    said documents.

               Thank you for your attention to this matter.

                                                    Very truly yours,

                                                    MILMAN & HEIDECKER

                                                    /s/______________________
                                                    Perry S. Heidecker (PH 6955)

    1
        A copy of this letter as well as the facsimile confirmation is attached hereto as Exhibit “A.”
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    Cc:    Harry Thomasson, Esq.
           Thomas Solferino, Esq.
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           Charles Chalom
